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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

v.                                                      CASE NO.: 4:08cr29-SPM

JOSEPH RODGERS TOMPKINS,

           Defendant.
____________________________/

               ORDER TERMINATING SUPERVISED RELEASE

       This cause comes before the Court on Defendant’s letter (doc. 661), which

has been filed as a motion for early termination of supervised release.

Defendant has competed over two years of a four-year term of supervised

release. During this period, Defendant has complied with all conditions. He has

maintained stable employment and adjusted well to living in the community. The

probation officer has no objection to early termination. The Court finds that early

termination is warranted by the conduct of Defendant and in the interest of

justice. 18 U.S.C. § 3583(e)(1); Fed. R. Crim. P. 32.1(c)(2)(B). Accordingly, it is

       ORDERED AND ADJUDGED that Defendant’s motion (doc. 661) is

granted. Defendant’s term of supervised release is terminated.

       DONE AND ORDERED this 10th day of September, 2012.


                                          s/ Stephan P. Mickle
                                          Stephan P. Mickle
                                          Senior United States District Judge
